                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                     )
                                               )
               Plaintiff,                      )
                                               )
 v.                                            )      No.:   3:15-CR-138-TAV-HBG-1
                                               )
 SIERRA DANIELLE MESSER,                       )
                                               )
               Defendant.                      )


                       MEMORANDUM OPINION AND ORDER

        This criminal action is before the Court on defendant’s pro se motion for the Court

 to order the Bureau of Prisons (“BOP”) to allow her to have video visitation with her friends

 and family [Doc. 48].

        “[T]he BOP has the authority to limit family visitation if it perceives a potential

 threat to the security of the institution.” Stapelton v. Patton, 07-cv-99, 2007 WL 3124713,

 at *3 (E.D. Ky. Oct. 24, 2007). Defendant is currently housed at the Tallahassee Federal

 Correctional Institution (“FCI”). Inmate Locator, Federal Bureau of Prisons,

 https://www.bop.gov/inmateloc/ (last visited May 12, 2021).            Although the BOP

 previously cancelled visitation at its facilities in light of the COVID-19 pandemic, see

 Wilson v. Williams, 961 F.3d 829, 841 (6th Cir. 2020), the BOP’s website indicates that,

 beginning November 7, 2020, Tallahassee FCI resumed in-person visitation with some

 restrictions Special Visiting Schedule & Procedures, FCI Tallahassee, Federal Bureau




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  of Prisons, https://www.bop.gov/locations/institutions/tal/TAL_modified_visit_plan.pdf/

 (last visited May 12, 2021).

        Defendant does not argue that other inmates are provided with access to virtual

 visitations, nor does she allege that FCI Tallahassee even has the ability to provide for

 virtual visitations. Given these facts and given defendant’s access to limited in-person

 visitation, defendant’s motion for video visitation [Doc. 48] is DENIED.

        IT IS SO ORDERED.


                                   s/ Thomas A. Varlan
                                   UNITED STATES DISTRICT JUDGE




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